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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                                    Criminal No. 21-CR-399 (RDM)
       v.

ROMAN STERLINGOV,

                  Defendant.




         [PROPOSED] ORDER ON MOTION FOR MISCELLANEOUS RELIEF

       Upon consideration of the motion for miscellaneous relief regarding briefing and

scheduling of a hearing on defendant’s Rule 17(c) subpoena, it is hereby

       ORDERED that the motion is GRANTED, and defendant shall file a statement from an

expert explaining the necessity of the expert to examine Reactor source code in light of the

factual issues in this case and the scope of such an examination no later than August 25, 2023.



Dated: _____________________                                ____________________________
                                                            Hon. Randolph D. Moss
                                                            United States District Judge




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